

People v Frazier (2023 NY Slip Op 05324)





People v Frazier


2023 NY Slip Op 05324


Decided on October 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 19, 2023

Before: Manzanet-Daniels, J.P., Kern, Scarpulla, Mendez, O'Neill Levy, JJ. 


Ind No. 3391/15 Appeal No. 836 Case No. 2018-1737 

[*1]The People of the State of New York, Respondent,
vKaliel Frazier, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered March 20, 2017, as amended May 24, 2017, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him to a term of two years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note
that the People do not oppose this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 19, 2023








